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                 IN THE UNITED STATES DISTRICT COURT OF
                        THE DISTRICT OF COLUMBIA
______________________________________
                                       )
DELYAN SLAVCHEV PEEVSKI, et al.        )
                                       )
     Plaintiffs,                       )
                                       )
             v.                        )
                                       ) Civil No.: 1:22-cv-2334
JANET YELLEN, et al.                   )
                                       )
                                       )
     Defendants.                       )


CERTIFICATE REQUIRED BY LCvR 26.1 OF THE LOCAL RULES OF THE UNITED
        STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

       Pursuant to Local Civil Rule 26.1, I, the undersigned, counsel of record for

Plaintiffs, Delyan Slavchev Peevski, Int Ltd EOOD, Intrust PLC EAD, BM Systems EAD,

Int Invest EOOD, Inttrafik EOOD, and Real Estates Int Ltd EOOD, certify that to the best

of my knowledge and belief, the following are parent companies, subsidiaries, affiliates,

or companies that own at least 10% of the stock of any Plaintiff which have any

outstanding securities in the hands of the public:

       None.
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Dated: August 6, 2022          Respectfully submitted,

                               MORGAN, LEWIS & BOCKIUS LLP


                               /s/ Patrick A. Harvey
                               Kenneth J. Nunnenkamp (Bar No. 420914)
                               (D.D.C. admission pending)
                               Patrick A. Harvey (Bar No. 995570)
                               Amanda L. Salz (Bar No. 1671976)
                               (D.D.C. admission pending)
                               1111 Pennsylvania Avenue NW
                               Washington, DC 20004
                               Tel: (202) 739-6000
                               Fax: (202) 739-6001
                               Email: patrick.harvey@morganlewis.com
                                      kenneth.nunnemkamp@morganlewis.com
                                      amanda.salz@morganlewis.com

                               Attorneys for Plaintiffs




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